          Case 1:20-cv-02405-EGS Document 81 Filed 11/04/20 Page 1 of 2




                            UNITED STATES DISTRICT COURT
                                DISTRICT OF COLUMBIA



Vote Forward, et al,

Plaintiffs,

v.                                                              Case No. 20-cv-2405


DeJoy, et al.,

Defendants




                                MOTION TO AMEND ORDER AND
                                EXTEND TIME FOR PRODUCTION

        During the November 4, 2020 hearing scheduled for 12:00 p.m., the Court orally ordered

the United States Postal Service (“USPS”) to produce to Plaintiffs, by 1:00 p.m., copies of

election and political mail logs from six postal districts—Kentuckiana, Houston, Central

Pennsylvania, Philadelphia, Greensboro, and the Mid-Carolinas. USPS is conferring with these

districts to have these logs—which are in hard copy form—scanned and transmitted to USPS so

they may in turn be produced to Plaintiffs.

        USPS is in the process of informing these districts that they must immediately scan and

send these logs to USPS pursuant to the Court’s Order. Unfortunately, USPS must await receipt

of these logs before they may be produced, and could not meet the Court’s 1:00 p.m. deadline.

USPS however can make this production promptly upon receipt. USPS thus respectfully requests

that the Court extend USPS’s deadline for a reasonable period of time to allow for the

mechanical scanning and transmission process to complete (which, as noted above, is underway).


                                                1
       Case 1:20-cv-02405-EGS Document 81 Filed 11/04/20 Page 2 of 2




Dated: November 4, 2020                  Respectfully submitted,

                                         JEFFREY BOSSERT CLARK
                                         Acting Assistant Attorney General

                                         ERIC WOMACK
                                         Assistant Branch Director
                                         Federal Programs Branch

                                         /s/ Kuntal Cholera
                                         JOSEPH BORSON (VA Bar No. 85519)
                                         KUNTAL V. CHOLERA
                                         ALEXIS ECHOLS
                                         DENA ROTH
                                         JOHN J. ROBINSON
                                         Trial Attorney
                                         U.S. Department of Justice
                                         Civil Division, Federal Programs Branch
                                         1100 L Street, NW
                                         Washington, D.C. 20005
                                         Telephone: (202) 514-1944
                                         E-mail: Joseph.Borson@usdoj.gov

                                         Attorneys for Defendants




                                     2
